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to ~.LLB                         ~ a ~ ~ 1 ~ o ~ ~ T 2_ ~,,~Ss                            i
11                               UNITED STATES DISTRICT COURT
12                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
           UL LLC,                                  ase No.:
14
                   Plaintiff,                         PLAINTIFF UL'S EXPARTS
15                                                    APPLICATION FOR TEMPORARY
          v.                                          RESTRAINING ORDER,SEIZURE
16
          The Space Chariot Inc., a California        ORDER„ EXPEDITED DISCOVERY
17
          corporation; Kevin Walker, an individual; ORDER AND ORDER TO SHOW
18        Donabelle Escarez Mortel, aka Donabella CAUSE FOR PRELIMINARY
                                                      INJUNCTION
19        Mortel , an individual; and John Does 1-10,
          individuals,
20
                   Defendants.                                                                  TO
21                                                 5 U.S.C. SECTION 11
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     1              Plaintiff LJL LLC ("LJL"), in conjunction with its Complaint against The Space
  2 ~ ~ Chariot Inc., Kevin Walker and Donabelle Escarez Mortel aka Donabella Morte

  3 ~ ~ (collectively, "Defendants"), files this, its Ex Parte Application for Temporar;

  4 ~ ~ Restraining Order, Seizure Order, Expedited Discovery, and Order to Show Cause fo

  5 ~ ~ Preliminary Injunction ("Application"), and would show as follows:

 6            I.       SUMMARY OF ARGUMENT
  7                 Plaintiff LJL, having contemporaneously filed its Complaint, comes now anc
 8 ~ ~ respectfully requests that the Court grant this Plaintiff's Application. As more fully

 9 forth in Plaintiff's Memorandum of Law in Support of Plaintiff's Ex Parte Application
 10 For Temporary Restraining Order, Seizure Order, Expedited Discovery, and Order to

 1 1 Show Cause for Preliminary Injunction, LTL is suffering imminent and ongoing harm

 12 from Defendants' counterfeiting of LTL's well-known certification marks.

13            II.      PLAINTIFF'S CLAIMS AND REQUEST FOR EXTRAORDINARY
14                     RELIEF
15                  Plaintiff, UL LLC ("LTL") brings this application for temporary restraining order,
16 ~ seizure order, expedited discovery order and order to show cause for preliminary

17 injunction against Defendants The Space Chariot, Inc. ("Space Chariot"), Kevin Walker

18 and Donabelle Escarez Mortel aka Donabella Mortel (together, "Defendants) based on,

19 among other things, Defendants' willful counterfeiting and infringement of UL's

20 certification marks.

21                 Founded in 1894, LJL is a leader in product testing and certification. Its well-
22 ~ known UL-in-a-circle certification mark, which in 2013 alone appeared on more than 22',

23 ~ billion products, has earned a reputation of trust and reliability among consumers)

24 throughout the world. The display of the UL certification mark on a product is the

25 manufacturer's representation to the public that the product meets UL's specified

26 rigorous product safety and/or performance standards.

271                The integrity of the LJL certification mark is of vital importance to LJL's brand and
281 its business. To protect its substantial investment and goodwill in the LTL certification)
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  1 mark, UL has long tested, inspected and certified products as well as developed safet;

  2 standards and maintained a UL certification directory. Only manufacturers and supplier

  3 who have entered into an agreement with UL and whose products have passed th~

  4 relevant certification testing are authorized to sell products bearing the UL certification

  5 mark and be listed in UL's database of approved manufacturers and suppliers.

 C1            L1L has never certified any of Defendants' products and has not authorize
 7 Defendants to use the LTL certification mark in any way. Defendants are nonetheles

 8 brazenly advertising hoverboards as being LJL certified when, in fact, they are not

 9 Defendants have even gone so far as to market their hoverboards as "TOP OF THE LINE

 10 HOVERBOARDS THAT ARE UL SAFETY CERTIFIED" and have posted thi

1 1 advertisement       and    substantially    similar     advertisements    on     their   websit~
12 <spacechariot.com>         and   social     media      accounts   such    as    <instagram.com>
13 <facebook.com>, <twitter.com> and <youtube.com> to an unsuspecting public. Mos

14 troubling, because Defendants have advertised their hoverboards as "UL Safety

15 Certified," consumers are under the belief that they are buying a UL-certified produc

16 when in fact they are being deceived. Products that are not tested or certified by LTL ma;

17 pose serious fire, electrical shock, and other safety/casualty hazards.

18             By recklessly launching their hoverboards into the stream of commerce
19 Defendants are enabling a danger to the public welfare — as the hoverboards are no

20 tested or certified to UL's strict standards, yet falsely represent to consumers that the}

21 are.       The damage to the integrity of the UL certification mark is incalculable anc
22 irreparable, as Defendants' actions have rendered meaningless a manufacturer':

23 ~ representation of compliance that comes from displaying the LTL certification mark on its

24 ~ products.

25            LJL seeks temporary and permanent injunctive relief pursuant to Federal Rule of
26 Civil Procedure 65, the Lanham Act, and the common law. As set forth in detail in UL's

27 Memorandum of Law in Support of this Application, UL has established (1)a substantial

28 likelihood of success on the merits; (2) a substantial threat of irreparable harm;(3) that
                                                  2
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       the threatened harm to UL outweighs the threatened injury to Defendants; and (4) tha
  2 granting injunctive relief does not disserve the public interest.
  3            Furthermore, UL has requested that the Court grant UL (1) a seizure order to bf
 4 executed at Defendant's business premises located at 5250 Lankershim Boulevard, Suitf
 5 500, North Hollywood, California, 91601, (2) the ability to conduct discovery on ar
 6 expedited basis in order to prepare adequately for the hearings on these issues, and (3)ar
 7 order to show cause for a preliminary injunction. The discovery requested is both limitec
 8 and directly related to the development of facts and evidence which will be presented a~
 9 the temporary injunction hearing.
10                                       III. RELIEF REpUESTED
11             Unless Defendants are restrained as herein, any monetary judgment UL might
12 obtain against Defendants will be an ineffective remedy. Specifically, UL requests:
13                      A)Enjoining and restraining Defendants, their officers, agents, servants
14             employees and any persons in active concert or participation with them from:
15                           (i)    using the UL Marks or any reproduction, counterfeit, copy
16                      colorable imitation of the UL Marks in connection with the manufacture,
17                      advertisement, offer for sale and/or sale of merchandise not authorized by
18                      LTL, or in any manner likely to cause others to believe that the Counterfeit
19                      Products are connected with ITL or the genuine UL Marks;
20                           (ii)   passing off any other goods that are not authorized by UL as
21                      being certified, approved or authorized by UL;
22                           (iii) making, having made, importing, distributing, or offering for.,
23                      sale any hoverboards which are not certified by UL; and
24                           (iv) committing any other acts calculated to cause purchasers to
25                      believe that Defendants' products are authorized, approved or certified by
26                      UL unless they are such.
271                    (B) Impounding, during the pendency of this action, any Counterfeit
281           Products, any reproduction, copy or colorable imitation thereof, including labels
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               other items, any advertising, packaging and other materials and merchandise seized
               pursuant to the provisions ofthis Order.
                       (C) Restricting the transfer of Defendants' assets pursuant to the
               provisions ofthis Order hereinafter set forth.
 5                                         IV.    CONCLUSION
 6             For these reasons, and as more fully articulated within Plaintiff's Memorandum of
 7 Law in Support of Plaintiff's Ex Parte Application for Temporary Restraining Order,
 8 Seizure Order, Expedited Discovery, and Order to Show Cause for Preliminary

 9 Injunction, and the evidence contained therein, Plaintiff respectfully requests that the

10 Court grant the relief requested herein, and restrain Defendants from further damaging

1 1 the business and reputation of LTL.
12

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14 DATED: November ~,2016
                                               Respectfully submitted,
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16                                      By:                 ~.
17                                             MATTHEW R. GERSHMAN
                                               Attorneysfor Plaintiff UL LLC
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